                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:12-CR-00239-GCM-DCK
 USA,                                              )
                                                   )
                  Plaintiffs,                      )
                                                   )
     v.                                            )            ORDER
                                                   )
 STEVEN JONES,                                     )
                                                   )
                  Defendants.                      )
                                                   )

          THIS MATTER is before the Court on its own motion. Defendant Steven Jones was

originally scheduled to be sentenced on September 2, 2015. He was unable to attend that hearing

on account of severe health issues. A second hearing was scheduled for January 6, 2016.

Defendant was again unable to attend because of his health.

          At this time, Defendant’s serious health problems preclude the Court from attempting to

schedule another sentencing hearing. For this reason, Defendant’s sentencing is continued and

will be re-set at a later date.

          Counsel for Defendant and the Government shall periodically confer regarding

Defendant’s ability to attend a sentencing hearing. Counsel for Defendant is ordered to promptly

notify the Court if Defendant’s condition improves.

          SO ORDERED.

                                           Signed: January 7, 2016




                                           SEALED DOCUMENT with access to Specified Parties/Defendants.




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